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                        Exhibit 1
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Josh Belinfante
Direct Line: (404) 856-3262
Email: jbelinfante@robbinsfirm.com




                                                   December 3, 2019



VIA Electronic and U.S. Mail

Leslie Bryan, Esq.
Lawrence & Bundy, LLC
Suite 1650
1180 West Peachtree Street
Atlanta, GA 30309
Leslie.bryan@lawrencebundy.com

                       Re:           Fair Fight Action, Inc. v. Raffensperger, No. 1:18-cv-05391-SCJ
                                     Individual Declarant Depositions

Dear Leslie:

           We are writing to address certain issues regarding the ongoing depositions of
individual declarant witnesses that Plaintiffs have identified in this case. As you are
aware, and despite the expiration of fact-discovery, the Parties have agreed that State
Defendants will have an opportunity to depose all such declarants and Plaintiffs’ counsel
would take the lead on organizing and scheduling said depositions.                         We sincerely
appreciate your continued efforts in facilitating that process; we know it has been time-
consuming. With the holidays and other deadlines in this case fast approaching, however,
we believe a modest change in the process is warranted and should benefit all Parties.
Specifically, we request the following:
           First, without waiving State Defendants’ right to depose all identified declarants as
agreed, we have identified approximately 75 declarants whose depositions should be
prioritized. A list of these individuals is attached as Exhibit A. We believe that taking
these declarants’ depositions first could help expedite the discovery process. Once we
have completed their depositions, we will reassess whether additional depositions of the
remaining declarants will be necessary.
           Second, to help us have confidence in our prioritization, please also confirm that
Plaintiffs’ production of declarations is complete. We have had a few instances where a
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                          EXHIBIT A
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                Exhibit A – Priority Deponent List
1.    Allen, Hattie
2.    Alston, Eboni
3.    Anachuna, Ofodile
4.    Baiye, James
5.    Bell, Lorene
6.    Bell, Michael
7.    Brown, Elan
8.    Carter, Kia
9.    del Rio, Carlos
10.   Duncan, Chris
11.   Eziefula, Ikechukwu
12.   Himes, Erin
13.   Goff, Sharonda
14.   Gordon, Atlas
15.   Gravely, Blakke
16.   Greene, Antonio
17.   Hall, Carlos
18.   Hanley, Christine
19.   Harris, Edward
20.   Hill, Jacob
21.   Holt, Dasia
22.   Jackson, Colin
23.   Johnson, Shonkearia
24.   Jones, Kimberly
25.   Kemp, Kirsten
26.   Lepere, Alia
27.   Lindsey, Sr., Kenneth
28.   Matz, Gahalam
29.   McGraw, Gloria
30.   Murray, Shaun
31.   Neal, Keteria
32.   Niederwanger, Liza
33.   O'Hara, Charles
34.   Parrot, Raymond
35.   Payne, Rebecca
36.   Peterson, Jim
37.   Phillips, Tamara
38.   Pickett, Thires
39.   Ravid, Ofek
40.   Resler, Bradley
41.   Romero, Mary
42.   Sabusa, Shaila
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43.   Schlesinger, Bradley
44.   Scott, Tangerlyn
45.   Shuster, Jordan
46.   Soori-Arachi, Marcus
47.   Terry, Ayesha
48.   Thuon, Majorie
49.   Thurman-Jetter, Diondra
50.   Walden, Eunice
51.   Walker, Laura
52.   Warren, Talisha
53.   White, Carlos
54.   White, Michael
55.   Williams, Camille
56.   Winbush, Nicolas
57.   Woodward, Mary
58.   Young, Devin
59.   Evering, Jessica
60.   Halfon, Nicholas
61.   Wolfe, Mariah
62.   Longino, Sharonda
63.   Barnidge, Noell
64.   Damineni, Vineeta
65.   Jackson-Campbell, Tobias
66.   Mathis, Davaris
67.   Mauldin, Shaniah
68.   Medalla, Dina
69.   Nelson, Patrick
70.   Patterson, Inez
71.   Ward, Ernest
72.   Lucas, Jeannette
73.   Freeman, Felicia
74.   Doan, Kevin
75.   Grice, Arquesia




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